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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

WEIFANG TENGYI JEWELRY TRADING                     ) Case No. 18-cv-4651
CO., LTD.,                                         )
                                                   ) Judge Gary S. Feinerman
               Plaintiff,                          )
                                                   ) Magistrate Judge Jeffrey Gilbert
       v.                                          )
                                                   )
THE PARTNERSHIPS AND                               )
UNINCORPORATED ASSOCIATIONS                        )
IDENTIFIED ON SCHEDULE “A”                         )
                                                   )
               Defendants.                         )

               REPLY IN SUPPORT OF DEFENDANTS INTUII LLC AND
                   JENS SORENSEN’S REQUEST FOR DAMAGES

       Plaintiff failed to conduct an adequate pre-filing investigation and sought a TRO under

false pretenses, resulting in severe harm to Defendant Intuii LLC and Jens Sorensen’s

(collectively, “Intuii”) business. In granting Intuii’s motion to lift TRO, the Court continued

Intuii’s request for damages and ordered Plaintiff to explain Plaintiff’s pre-filing investigation

regarding: 1) “the location of Defendants Intuii LLC and Jens Sorensen”; and 2) “whether they

sold counterfeit ULOVEIDO products.” 08/17/18 Order [Doc. 44]. Plaintiff’s opposition [Doc.

53] confirms it conducted no good faith pre-filing investigation into either of these two

questions.

       Plaintiff did not investigate Intuii’s location, even though following the link in Plaintiff’s

Schedule A and clicking on the seller’s store name would have revealed that Intuii was “based in

the United States.” Plaintiff also did not investigate whether the products offered for sale by

Intuii were counterfeit or genuine ULOVEIDO products. Plaintiff’s General Manager, Teng

Guangyao, asserts that he reviewed the “evidence” from Intuii’s Diaperdisco eBay store, but that




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evidence was a screen print of an online ad that did not even have a picture of the accused

product. Guangyao Decl. [Doc. 52] ¶ 41. Mr. Guangyao asserts that he concluded Intuii’s item

was not genuine “as the price is higher than a comparable ULOVEIDO product” (emphasis

added). Id. ¶ 42. That is not evidence of counterfeiting. Mr. Guangyao’s declaration shows that

Plaintiff was well aware of online resellers purchasing and drop shipping genuine ULOVEIDO

products, but Plaintiff did no investigation to distinguish those defendants, like Intuii, from

actual counterfeiters. Rather than conduct any investigation to ascertain which defendants were

selling genuine products and which were selling counterfeits, Plaintiff falsely asserted that all

defendants were counterfeiters.

        Plaintiff simply ignores the Court’s questions and, instead, attempts to reargue the TRO.

Thus, Plaintiff’s opposition is not a good faith attempt to respond to the Court’s inquiry into

Plaintiff’s pre-filing investigation, and provides further support for Intuii’s request for damages.

A.      Plaintiff Sought And Obtained The TRO Under False Pretenses

        1.     Plaintiff Did Not Investigate Intuii’s Location Before Filing Suit And Seeking
               A TRO Against Foreign Defendants

        Plaintiff repeatedly asserted that the TRO was necessary to address blatant counterfeiting

by foreign entities who may evade justice by transferring assets to offshore accounts. See, e.g.,

Complaint [Doc. 1] ¶ 17 (alleging Defendants “reside in the People’s Republic of China or other

foreign jurisdictions”); Guangyao Decl. [Doc. 9] ¶¶ 18-19 (alleging defendants would “move

funds” to “off-shore bank accounts outside the jurisdiction of this Court”); Mem. in Supp. of

TRO [Doc. 13] at 2 (arguing for TRO based on “the covert nature of offshore infringing

activities and the vital need to establish an economic disincentive for infringement”). At the

TRO hearing, this Court asked if this was “one of those trademark cases” involving entities from

China, to which Plaintiff responded “that’s correct.” Banister Decl. [Doc. 51], Ex. F at 2:7-22.


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Plaintiff then moved to extend the TRO to prevent defendants from moving funds to “off-shore

bank accounts beyond the jurisdiction of the Court.” Mem. in Supp. of Extend [Doc. 18] at 2.

       Despite making these representations, Plaintiff did not investigate the true location of the

defendants. There is no dispute that Jens Sorensen is a U.S. citizen and Intuii is a California

LLC, and both are located in San Diego, California. Plaintiff could have discovered that Intuii

was located in the U.S. by following a simple link contained in Schedule A of its Complaint and

then clicking on “Diaperdisco.” This one additional mouse click would have taken Plaintiff to

Intuii’s Diaperdisco store home page showing that it is based in the United States. Indeed,

counsel’s recent declaration attaches a screenshot of Diaperdisco’s store, which clearly shows:




Banister Decl. [Doc. 51], Ex. B.1 Had Plaintiff done so for each accused defendant, it would

have discovered that 70% of the defendants admit to being located in China and nearly 10% are

located in the United States. Id. ¶ 11. Rather than do this minimal investigation, Plaintiff filed

its motion for TRO and falsely alleged that all defendants were foreign entities who were likely

to conceal assets, causing immediate and severe harm to those falsely accused.

       Plaintiff speculates that some defendants might be using false designations on their eBay

accounts. Id. ¶ 12. Merely because some unscrupulous actors might not be forthcoming does

not excuse Plaintiff from meeting its Rule 11 obligations and conducting even a modicum of

investigation to confirm the veracity of its allegations. This is especially true in view of the


       1 While Exhibit B shows where diaperdisco is located, Plaintiff’s brief and declaration
fail to mention that. Instead, Plaintiff dodges the Court’s question regarding its pre-suit
investigation as to location and argues the diaperdisco store does not disclose “contact
information.” Opp’n [Doc. 53] ¶ 5; Banister Decl. [Doc. 51] ¶ 7.

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severity of the allegations that formed the basis of Plaintiff’s TRO motion and the extreme relief

sought and obtained under false pretenses.

       2.      Plaintiff Did Not Investigate Whether Intuii Was Selling Counterfeit
               ULOVEIDO Products Before Filing Suit And Seeking a TRO

       In its motion for TRO, Plaintiff argued defendants were “selling Counterfeit ULOVEIDO

Products that look similar to genuine ULOVEIDO Products” and were “intentionally trying to

induce consumers looking for genuine ULOVEIDO Products to purchase Counterfeit

ULOVEIDO Products instead.” Mem. in Supp. of TRO [Doc. 13] at 8; see also id. at 13-14

(arguing TRO was necessary to prevent consumers from believing “Defendants’ Counterfeit

ULOVEIDO Products have been manufactured by or emanate from Plaintiff, when in fact, they

have not”). Plaintiff even declared, under penalty of perjury, that defendants were selling “cheap

imitation counterfeits of ULOVEIDO Products,” that were “not authorized, produced or

manufactured by Plaintiff,” and could be confused with “genuine” products. Guangyao Decl.

[Doc. 9] ¶¶ 10, 20-24. But Plaintiff did nothing to ascertain whether Intuii (or any other

defendant) was actually selling counterfeit goods.

       Plaintiff did not purchase or examine the actual product that was advertised on Intuii’s

Diaperdisco eBay store. On the contrary, Plaintiff knew that some defendants were selling

Plaintiff’s genuine products, admitting, in a declaration opposing Intuii’s damages request, that

certain online sellers “insert themselves as uninvited middlemen by using, without our

authorization or consent, our marketing materials and other intellectual property to sell our

products on eBay and other online platforms.” Guangyao Decl. [Doc. 52] ¶ 31. Plaintiff did not

reveal this fact to the Court when seeking a TRO. Instead, Plaintiff falsely asserted that all

defendants were counterfeiters.




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        Mr. Guangyao asserts that he “reviewed the evidence for the Defendant eBay Store

Diaperdisco, listed as Defendant 169 on Amended Schedule A.” Id. ¶ 41. But this evidence

consists of a printout of an advertisement that does not even show an image of the product.

Plaintiff allegedly concluded that Intuii’s product offering was counterfeit because Intuii did not

ask permission to sell Plaintiff’s products. Id. This is not an investigation regarding whether

Intuii was selling genuine or counterfeit goods. Plaintiff also allegedly concluded that Intuii was

selling counterfeit products because Intuii’s price was higher than a comparable ULOVEIDO

product. Id. ¶ 42. This is also insufficient. If anything, a higher price might indicate that Intuii

was reselling genuine products, rather than a “cheap imitation counterfeit.” Moreover, with the

exception of Exhibit G, all of the evidence presented by Mr. Guangyao was generated on August

21 and 22, 2018—long after the TRO. Id., Ex. A-F and ¶¶ 41-42.

B.      Plaintiff’s Legal Arguments On The Merits Are Incorrect And Plaintiff Is Unable
        To Demonstrate A Likelihood Of Success On The Merits

        Rather than acknowledge its failure to conduct a pre-suit investigation, Plaintiff reargues

the merits of its infringement claims. In so doing, Plaintiff doubles down on its frivolous

argument that the unauthorized sale of genuine products renders those products counterfeit.

        1.     Genuine Goods Are Not Counterfeit

        By every definition of “counterfeiting,” including the express language of the Lanham

Act, its legislative history, and cases addressing counterfeiting, genuine goods are not and cannot

be counterfeits. This is a basic and fundamental truth, and Plaintiff’s arguments to the contrary

are frivolous, lack good faith, and result in vexatious litigation.

        The Lanham Act expressly states that the term “counterfeit” does not apply to genuine

goods. “[T]he term ‘counterfeit mark’ … does not include any mark or designation used on or in

connection with goods or services of which the manufacture or producer was, at the time of the


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manufacture or production in question authorized to use the mark or designation for the type of

goods or services so manufactured or produced, by the holder of the right to use such mark or

designation.”   15 U.S.C. § 1116(d)(1)(B).     That is the definition of genuine products, i.e.

products that are made by authorized manufacturers or producers.

       The criminal portion of the Lanham Act similarly defines “counterfeit” as “a spurious

mark which is identical with, or substantially indistinguishable from, a registered mark.” 15

U.S.C. § 1127. The legislative history explains that “spurious” means “not genuine or authentic”

and the criminal and civil definitions are “identical in substance.” Joint Statement on Trademark

Counterfeiting Legislation, 130 Cong. Rec. H12076, H12078 (daily ed. Oct. 10, 1984).

       “Counterfeiting is the act of producing or selling a product with a sham trademark that is

an intentional and calculated reproduction of the genuine mark.”        Playboy Enters., Inc. v.

Universal Tel-A-Talk, Inc., 1998 WL 767440, *7 (E.D. Penn. 1998) (quoting J. THOMAS

McCARTHY, McCARTHY ON TRADEMARKS § 25:10 (3d ed. 1997)); Channel, Inc. v.

Gordashevsky, 558 F. Supp. 2d 532, 536 n.2 (D.N.J. 2008) (same); Louis Vuitton Malletier v.

Veit, 211 F. Supp. 2d 567, 581 (E.D. Penn. 2002) (same); see also State of Idaho Potato

Comm’n. v. G&T Terminal Packaging, 425 F.3d 708, 721 (9th Cir. 2005) (a “counterfeit mark”

is a “non-genuine mark identical to [plaintiff’s] mark.”). Counterfeiting is “hard core” or “first

degree” infringement that is an aggravated form of “trademark infringement that seeks to trick

the consumer into believing he or she is getting the genuine article.” See Gucci Am., Inc. v.

Guess?, Inc., 868 F. Supp. 2d 207, 242 (S.D.N.Y. 2012).

       Thus, Plaintiff’s own ULOVEIDO products, made by or for Plaintiff, cannot be

counterfeits. Use of the ULOVEIDO trademark in connection with sales or offers to sell

Plaintiff’s own genuine ULOVEIDO products is not counterfeiting under the Lanham Act.



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       Plaintiff is well aware of what true counterfeiting is. In 2017, Versace obtained a

preliminary injunction against Plaintiff’s “Uloveido Official Store” for allegedly selling

counterfeit Versace goods. Zelkind Decl., Ex. A at 2. Plaintiff’s counsel in this case also

represented Plaintiff’s Uloveido store and three other alleged counterfeiters in the Versace case.

Zelkind Decl., Ex. B. Those defendants argued they sold mostly “legal items” and only a limited

number of truly counterfeit goods.2 Id. at 5. Thus, it is disingenuous for Plaintiff to now assert

that genuine products can be considered counterfeits.

       Moreover, Plaintiff and its counsel in this case filed declarations that appear to have

plagiarized the Versace plaintiff’s declarations. Bannister’s four-paragraph declaration is nearly

identical to the first four paragraphs from counsel’s declaration in Versace.            Similarly,

Mr. Guangyao’s declaration contains numerous paragraphs that are nearly the same as the

Versace plaintiff’s declaration. Below is an example paragraph in each declaration.

Versace Decl. (Zelkind Decl., Ex. C) ¶ 2            Banister Decl. [Doc. 8] ¶ 2

According to a January 2011 MarkMonitor             According to a January 2011 Mark Monitor
report entitled “Traffic Report: Online Piracy      report entitled “Traffic Report: Online Piracy
and Counterfeiting,” the combined traffic to 48     and Counterfeiting,” the combined traffic to 48
sites selling counterfeit goods was more than       sites selling counterfeit goods was more than
240,000 visits per day on average or more than      240,000 visits per day on average or more than
87 million visits per year. A 2012                  87 million visits per year. A 2012
MarkMonitor article entitled “White Paper:          Mark Monitor article entitled “White Paper:
Seven Best Practices for Fighting Counterfeit       Seven Best Practices for Fighting Counterfeit
Sales Online” reported that counterfeiters’         Sales Online” reported that counterfeiters’
illicit online activities will cost legitimate      illicit online activities will cost legitimate
businesses $135 billion in lost revenue             businesses $135 billion in lost revenue
annually. True and correct copies of these          annually. True and correct copies of these
reports are attached hereto as Exhibit 1.           reports are attached hereto as Exhibit 1.




       2  Notably, while the other three alleged counterfeiters provided evidence of their limited
sales, the Uloveido store promised to provide similar evidence, but never did. Zelkind Decl., Ex.
B at 5.

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Versace Decl. (Zelkind Decl., Ex. D) ¶ 15            Guangyao Decl. [Doc. 9] ¶ 12

I, or someone working under my direction,            I personally analyzed each of the Infringing
analyzed each of the Defendant Internet Stores       Webstores, screenshots of which are attached
and determined that Counterfeit Versace              hereto, and determined that Counterfeit
Products were being offered for sale to              Products are being offered for sale to residents
residents of the United States, including            of the United States and the State of Illinois. I
Illinois residents. This conclusion was reached      reached this conclusion through visual
through visual inspection of the products listed     inspection of the products as they appeared on
for sale on each Defendant Internet Store, the       the Infringing Webstores, the price at which
price at which the Counterfeit Versace               the Counterfeit Products were offered for sale,
Products were offered for sale, other features       other features commonly associated with
commonly associated with websites selling            websites selling counterfeit products, because
counterfeit products, and because Defendants         Defendants offered shipping to Illinois, and
and their Defendant Internet Stores do not           because Defendants and the Infringing
conduct business with Versace and do not have        Websites do not conduct business with the
the right or authority to use the Versace            Plaintiff and do not have the right or authority
Trademarks for any reason.                           to use the ULOVEIDO mark for any reason.



Compare Zelkind Decl., Ex. C, ¶¶ 2-4 with Banister Decl. [Doc. 8] ¶¶ 2-4; compare Zelkind

Decl., Ex. D, ¶¶ 9, 15-28 with Guangyao Decl. [Doc. 9] ¶¶ 9, 12, 14-25; see also Zelkind Decl.

Ex. F (comparison chart containing all substantially identical paragraphs). Plaintiff even used

the defined term “Defendant Internet Stores” from Versace, but forgot to actually include the

definition in its own declaration. See Guangyao Decl. [Doc. 9] ¶ 13.

       This evidence further underscores that Plaintiff did not conduct its own pre-suit

investigation and, instead, merely lifted the words that Versace previously used to obtain an

injunction against Plaintiff.   This apparent plagiarism from a true counterfeiting case also

explains why Plaintiff continuously refers to Intuii and Sorensen as “counterfeiters” even though

they only offered for sale Plaintiff’s genuine ULOVEIDO products.

       2.      Unauthorized Sales Of Genuine Goods Is Not Trademark Infringement

       Plaintiff attempts to salvage its case by advancing a new theory that the unauthorized sale

of genuine goods is somehow trademark infringement. See Pl’s Opp’n [Doc. 53] at 6. But that


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new theory was not the basis for the Plaintiff’s TRO and the Court did not rely on any such

theory in granting the TRO. See Zelkind Decl., Ex. E at 6:1-5 (this Court finding “there was

nothing, zero, in the complaint or in the motion for a TRO articulating a theory that even if the

goods are genuine, it violates the trademark or some other law to offer those goods for sale

without first acquiring them”). Plaintiff cannot avoid paying for the damages its TRO caused by

shifting to a new infringement theory.

       Moreover, Plaintiff’s new theory is also wrong as a matter of law.         The use of a

trademark in a sale or offer for sale of a genuine product is not trademark infringement because

there is no likelihood of confusion as to the source of the goods. At its core, trademark

infringement exists when use of a mark is “likely to cause confusion among consumers.”

Barbecue Max, Incorp. v. 551 Ogden, Incorp., 235 F.3d 1041, 1043 (7th Cir. 2000). Plaintiff

argues that consumers could be confused about Intuii being an authorized distributor. But

merely reselling genuine products online does not create confusion as to sponsorship. See Ty v.

Perryman, 306 F.3d 509, 512-13 (7th Cir. 2002) (holding no likelihood of confusion where

unauthorized reseller purchased “Beanie Babies” and resold them at a markup). Indeed, the

“mere unauthorized sale of a trademarked item does not result in a Lanham Act violation.”

Leonel & Noel Corp. v. Cerveceria Centro Americana, S.A., 758 F. Supp. 2d 596, 603 (N.D. Ill.

2010); Hart v. Amazon.com, Inc., 191 F. Supp. 3d 809, 818 (N.D. Ill. 2016); Microsoft Corp. v.

V3 Sols. Inc., 2003 WL 22038593, at *8 (N.D. Ill. Aug. 28, 2003).

       Hart addressed facts very similar to this case. In Hart, plaintiff pursued a trademark

claim based on “individuals re-selling copies of [plaintiff’s] books through Amazon’s website

without plaintiff’s permission.” Hart, 191 F. Supp. 3d at 819. The plaintiff argued that the

Amazon listings created the false impression that the listings were authorized. Id. The court



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rejected that theory because that is “not the reality of commerce.” Id. “As a comparison, a

shopper at a bookstore does not automatically believe that just because a used book is appearing

at the store, the author is expressly endorsing that store. The same is true for a book that is

resold on Amazon.” Id. Similarly, here, merely offering for sale genuine products in an eBay

store in no way suggests that the seller of those products is authorized or affiliated with Plaintiff.

Indeed, no consumer would believe that “diaperdisco” is an authorized jewelry reseller.

       Rather than address the test for infringement, Plaintiff argues that the “first sale” defense

does not apply. Mem. in Supp. of PI [Doc. 55] at 6-8. That is a red herring. This Court need not

address the first sale doctrine because, as addressed above, there can be no likelihood of

confusion from offering for sale genuine goods. Regardless, each of Plaintiff’s arguments are

unsupported and contrary to law. Intuii addresses each below in turn.

               a.      No Authority Holds That The First Sale Doctrine Requires A Seller
                       To Have The Product In Its Possession Before Advertising It

       Plaintiff argues that “[a]ffirmative authority does in fact exist for the proposition that a

first sale must take place before the affirmative defense of first sale and exhaustion may be

applied.” Mem. in Supp. of PI [Doc. 55] at 6-7. This argument ignores the ultimate question of

likelihood of confusion. Moreover, none of the authorities Plaintiff cites support that position.

       Far from supporting Plaintiff’s assertion, Hidalgo Corp. v. J. Kugel Designs, Inc., 509

F. Supp. 2d 1247 (S.D. Fla. 2007) actually supports Intuii’s position. In that case, the first sale

doctrine did not apply because defendant engaged in “something more” than merely offering for

sale and selling genuine goods. Id. at 1260-61. The defendant used significant promotional

materials from plaintiff and engaged in deception, including using a “secret” supplier and

wearing a disguise when meeting plaintiff. Id. at 1260-61. Those facts are not present here.




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       More importantly, Hidalgo found no trademark infringement. Id. at 1362-63. Hidalgo

held there was no likelihood that consumers would be confused into believing that a traveling

jewelry merchant was an authorized dealer for Hidalgo. Id. As the court explained, “[t]he

‘keystone’ of trademark infringement is ‘likelihood of confusion’ as to source, affiliation,

connection or sponsorship of goods . . . among the relevant class of customers and potential

customers.” Id. at 1361. Similarly, here, as in Hart, there is no reason a consumer would believe

that an eBay store called “diaperdisco” was an authorized jewelry reseller.3

               b.      The “Sponsorship Exception” Does Not Apply

       Next, Plaintiff argues that the first sale doctrine does not apply because of the

“sponsorship exception.” Mem. in Supp. of PI [Doc. 55] at 7-8. But courts in this district have

already rejected that theory on facts similar to this case. In Hart, the plaintiff argued that the

unauthorized selling of books on Amazon led to the false impression that plaintiff authorized the

listings or was associated with the sellers. 191 F. Supp. 3d at 819. As discussed above, the court

rejected that theory because no consumer would believe the author endorsed the seller. Id.

       Further, none of Plaintiff’s authorities support its attempt to expand deceptive

sponsorship to include merely offering for sale a genuine product on eBay. In D 56, Inc. v.

Berry’s, Inc., 955 F. Supp. 908, 910-20 (N.D. Ill. 1997), the defendant used a “significant

amount of paraphernalia bearing plaintiff’s trademark,” including pamphlets and large posters

throughout the store, and there was strong evidence of actual confusion. In Burger King Corp. v.


       3  Plaintiff’s other cases are irrelevant because they merely discussed whether the first sale
doctrine applies when the trademark owner never authorized the sale of any goods in the first
instance. See FITBIT, Inc. v. Laguna 2, LLC, Case No. 17-cv-00079-EMC (N.D. Cal. Feb. 24,
2017) (addressing “scrap” products that should have been destroyed); Italverde Trading v. Four
Bills of Lading, 485 F. Supp. 2d 187 (E.D.N.Y. 2007); Grateful Palate Inc. v. Joshua Tree Imps.,
LLC, 220 Fed. Appx. 635, 637 (9th Cir. 2007). None of these cases address the facts presented
here—merely offering for sale genuine products purchased directly from the trademark owner.

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Mason, 710 F.3d 1036, 1063 (9th Cir. 1999), the defendant continued operating a franchise, with

its signage and branding, after the franchisor terminated the franchise agreement. None of these

aggravating factors exist here. Intuii does not hold itself or any of its eBay stores out as an

authorized dealer of ULOVEIDO jewelry.

       Plaintiff’s remaining cases address situations where the defendant intentionally used the

plaintiff’s marks to sell different products that compete with plaintiff’s products. See Eli Lilly &

Co. v. Natural Answers, Inc., 233 F.3d 456, 465 (7th Cir. 2000) (use of PROZAC mark in

metatags to sell HERBROZAC product); New York State Soc. of Certified Public Accountants v.

Eric Louis Assoc., Inc., 79 F. Supp. 2d 331, 341 (S.D.N.Y. 1999) (use of plaintiff’s mark in

domain name and metatags to sell unrelated services); Australian Gold, Inc. v. Hatfield, 436 F.3d

1228, 1241 (10th Cir. 2006) (engaging in substantial deception and using plaintiff’s marks and

products to drive traffic to its website so that it could sell competitive lotions). These cases are

also inapposite.

               c.      There Are No “Material Differences” Between The Accused Goods
                       And Plaintiff’s Genuine Goods

       Finally, Plaintiff argues the first sale doctrine does not apply to goods that are “materially

different.” Mem. in Supp. of PI [Doc. 55] at 8-9. Plaintiff cites cases dealing with Lanham Act

violations stemming from sales of products that are materially different from genuine products.

But there are no differences in the ULOVEIDO products consumers would have received from

Plaintiff or Intuii. There is no dispute that Intuii’s advertisement linked to Plaintiff’s own

Amazon store. If a consumer purchased one of Plaintiff’s products from Intuii, Intuii would

have paid Plaintiff for the product and Plaintiff would have shipped the product to the consumer.

The consumer would have received exactly the same product, in exactly the same packing

material, directly from Plaintiff.


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         Plaintiff argues that it offers “warranty protection” and a “generous return policy.” Id. at

9. Plaintiff speculates that “[u]nauthorized sellers may or may not offer the same warranty,” but

offers no evidence to support that speculation. Id. More importantly, Plaintiff argues that its

warranty is void only if the item is “returned to the unauthorized seller and the unauthorized

seller then seeks the benefit of our warranty.” Id.         Thus, Plaintiff essentially admits that

consumers will receive the full warranty if they deal directly with the Plaintiff. There is nothing

abnormal about customers obtaining warranty service from the manufacturer instead of the

retailer. For example, if a consumer purchases a TV from BestBuy, they understand that the

standard warranty is serviced by the manufacturer—not BestBuy, and that BestBuy’s warranty

might differ from the manufacturer’s warranty.

C.       Conclusion

         Plaintiff obtained its TRO by representing to this Court that defendants sold counterfeit

goods and were foreign nationals who were likely to hide their assets. The Court recognized

these assertions were both incorrect, at least as to Intuii and Sorensen. Thus, the Court ordered

Plaintiff to explain its pre-filing investigation regarding Intuii’s and Sorensen’s locations and

whether they sold counterfeit products. Plaintiff completely ignored these questions and offers

no evidence that it conducted any investigation at all regarding these questions. That, combined

with Plaintiff’s copying of sworn statements in Versace, demonstrates that Plaintiff acted in bad

faith, justifying an award of Intuii’s and Sorensen’s damages.

                                                   Respectfully submitted,

                                                   COHON RAIZES & REGAL LLP


Dated: August 30, 2018                             By: /s/ Boris Zelkind
                                                            One of its Attorneys




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                                CERTIFICATE OF SERVICE

       The undersigned counsel for Defendants Intuii LLC and Jens Sorensen hereby certify that

on August 30, 2018, a true and correct copy of REPLY IN SUPPORT OF DEFENDANT

INTUII LLC AND JENS SORENSEN’S REQUEST FOR DAMAGES was filed

electronically with the Clerk of Court through the Court’s CM/ECF System, which will provide

electronic notification of such filing to the following Counsel of Record:

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Dated: August 30, 2018                    By: /s/ J. Michael Williams
                                                   One of their Attorneys




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